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Exhibit G

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF CALIFORNIA

ALEJANDRO MADRID, et al.,

)
) "NO. C90-3094-T.E.H..
Plaintiffs )
) SPECIAL MASTER’S FINAL REPORT
i) AND RECOMMENDATIONS RE.
v. ) ADMINISTRATIVE SEGREGATION MENTAL
+) HEALTH PILOT PROJECT
)
)
RODERICK HICKMAN etal., )
2 )
Defendants, )
)
I.
INTRODUCTION

Over the course of the past several years the A-Yard Administrative Segregation Housing
Unit (“Ad Seg”) at Pelican Bay State Prison (“PBSP”) has undergone extensive changes.! Numerous
factors have influenced the new composition of Ad Seg, including:

1. State-wide shortages concerning Psychiatric Services Unit (“PSU”) and Enhanced
Outpatient Program (“EOP”) beds, state-wide shortages of Mental Health Crisis Care beds, state-
wide shortages of Special Needs Yard beds, and an inadequate number of beds for cccms inmates |
facing a SHU term.

2.. An order in the Coleman litigation that prohibits housing inmates with mental health

problems in the “new” administrative segregation units, including the “New Ad Seg” at PBSP
¢ .

' The unit is also known as “Old Ad Seg.” .
? New Ad Seg is a free standing building located near the Correctional Treatment Center,

-]-

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_ 3. Significant delays in transferring inmates. from Ad Seg housing units because of bed |
shortages at other Level Iv prisons.

As a result of these factors, almost all of the inmates housed in the A Yard Ad Seg at PBSP
are prisoners: assigned to a California Department of Corrections and Rehabilitation (“CDCR”)
mental health program. Furthermore, the length of stay in the unit is often extended while CDCR
Headquarters awaits an open bed in the appropriate high security setting (e.g. the CCCMS program
in the Corcoran Security Housing Unit [“SHU”] or a “special needs” yard at another high security
prison). The Special Master has previously issued reports and conducted meetings concerning the
serious and negative consequences of this situation. For example, several cases have been reported
where PSU inmates improved their behavior to the degree that they were transferred to the PBSP
EOP, and subsequently further improved their behavior to the. degree they were reclassified as
CCCMS and therefore designated for transfer. After the desi gnation, however, these prisoners were
housed in the PBSP Ad Seg unit for so Jon g, and under such harsh conditions (with limited mental
health intervention), that they decompensated and were returned to the PSU.

IL.
THE CDCR RESPONSE CONCERNING THE NEED TO
ENHANCE MENTAL HEALTH CARE IN THE PBSP AD SEG UNIT

To its credit, after extensive discussion between the Special Master and the parties, the |

CDCR agreed to develop a program designed to enhance the mental health services provided in the:

PBSP Ad Seg Housing Unit (see Exhibit 1, Staff Counsel Dawn Whitney’s letter of June 3, 2005).

After additional meetings and discussions, including program reviews by Court expert Dr. Jeffrey

‘L. Metzner, a two prong enhanced mental health program for Ad Seg was developed by CDCR

officials. The plan is comprised of two major elements:
(1) a proposed staffing plan for enhanced mental health services that anticipate the

finalization of Coleman “program statements,” and;

' (2) anew operational plan for Ad Seg that establishes a behavior program for the mental

health: inmates in the unit,

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class in Madrid.

Therefore, after discussion and meetings, the Special Masters in Madrid and Coleman have '
agreed that the corrective actions proposed by PBSP, set forth in Exhibits 2-4, should be
implemented in the context of Madrid.

IV.
_ FINDINGS

1. The operational program set forth in Exhibit 2 is a necessary element of an adequate plan
to provide mental health services to the PBSP old Ad Seg housing unit, with one exception,

2. The staffing positions called for in Exhibit 3 are necessary to implement an adequate plan
for mental health services in the PBSP old Ad Seg housing unit, with one exception..

3, The program for delivery of Ad Seg mental health services set forth in Exhibit 4 is a
necessary element of an adequate plan to provide mental health services to the PBSP old Ad Seg
housing unit.

V.
COMPLIANCE WITH THE ORDER OF REFERENCE

Pursuant to the Order of Reference filed January 23, 1995 , the Special Master served counsel
with a draft version of the report on December 5, 2005. A meeting was conducted to discuss the
draft on January 4, 2006. Both parties submitted objections/comments to the draft report. Steven
Fama submitted a letter for plaintiff dated December 28, 2005 (Exhibit 8). Michael Jorgenson
submitted a letter for defendants also dated December 28, 2005 (Exhibit 9). Both letters deserve a
response from the Special Master.

Plaintiffs’ Comments

Plaintiffs raise two points. First, plaintiffs interpret the proposed CDCR pilot project as
allowing the prison Institutional Classification Committee (“ICC”) to determine clinical treatment
level decisions, and to over-ride clinical treatment decisions. At the meeting of January 4, 2006,
however, defendants explained that plaintiffs’ interpretation of the pilot was not correct. Consistent
with Court approved PSU policy, the Inter-Disciplinary Treatment Team makes all important

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clinical/behavioral decisions.

Second, plaintiffs object to the frequency of clinician (case manager) contacts, arguing that
the current Coleman standard calls for one-visit-per-week, while the proposed PBSP program
requires only one visit every two weeks, In response, defendants contend that modified Coleman
“Program Guides” will require only one visit every two weeks, a point that was contested by
plaintiffs at the meeting of January 4, 2006. After reflecting on this dispute, and reviewing the -
record, the Special Master finds that plaintiffs’ objection is well taken. For at least three reasons,
the pilot project should be modified to provide for clinician/patient contact at least one per week:.

1. The inmates in Ad Seg who have been classified as mental health patients at PBSP’
comprise a troubled, and difficult to manage group of prisoners. Statistically, they are inmates with
a high propensity for violence, as well as suicidal behavior. Without question, supplemental mental
health care will help PBSP correctional officials and clinicians work with, and better manage Ad Seg
inmate/patients. Given their behavioral history, and the high rate of suicides within CDCR
administrative segregation units, there is no reason to reduce the weekly contacts below that
currently required for Ad Seg.

. 2. Court approval of a pilot project which contradicts the existing Order in Coleman would
set a bad precedent.

3. As the Special Master previously reported, the conditions in Old Ad Seg at PBSP
resemble those in the SHU at the time of the trial in this case. Ad seg work assignments are difficult
for correctional staff. Ensuring weekly patient/clinician contacts should improve officer safety.

Defendants’ Comments:

1. In response to questions asked by the Special Master i in his draft report, defendants have

clarified that the Court should order the positions needed by PBSP to implement the needed

positions as full-time-permanent staff, rather than supplemental staff currently at the prison based
on a recently established “prevalence mix” analysis. The Special Master agrees, the appropriate |
recommendations are set forth below.

2. Defendants express concern about the bureaucratic delays inherent in the State of

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California’ s “pilot project” process, At the meeting of January 4, 2006, however, it was agreed that
the new program for PBSP Ad Seg does not contradict existing regulations. Therefore, the program
should go forward without formal State “pilot project” processes.

3. Finally, defendants’ point out that construction is necessary to implement the new
program (for example, to construct secure and confidential group exercise cages), During the

construction, full compliance with the mental health services standards required by the program will

be difficult, if not impossible, to achieve. The Special Master agrees that construction is needed.

He also agrees that the interim programming proposed by_Dr. Wendy Saville is reasonable (see
Exhibit 10),

. In addition to considering written objections, the Special Master allowed for comments not
submitted in writing to be discussed at the meeting of January 4". For example, concern was
expressed by Chief Psychiatrist Wendy Saville and Warden Richard Kirkland about the inability to
adequately supervise the Psychiatric Technicians who provide care for prisoner/patients in the PSU,
EOP and Administrative Segregation. After discussion with CDCR Health Services officials, the

Special Master discovered that little real progress has been made at Headquarters to correct this

serious problem, despite prior assurances that the issue would be addressed on a state-wide basis.

The Special Master agrees with Warden Kirkland, the inability to supervise an expanded group of |
Psychiatric Technicians has passed the “tipping point.” Intervention by the Court is now necessary,
VI.
. RECOMMENDATIONS

The Special Master recommends that the Court issue the following orders:

1. Defendants should establish and implement the new Ad Seg Program as set forth in
Exhibit 2 effective Monday, March 6, 2006, with one modification: the Ad Seg Program should
require contacts between clinicians (Case Manager) and inmate/patients at least once per week.

2. Defendants should establish and implement the followin g additional full-time-permanent
positions for PBSP no later than Monday, Monday, March 6, 2006:

A. Three correctional officers to be assigned to Building Al on Facility A,

6.

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B. Two Clinical Case Managers.°

C. Three Licensed Psychiatric Technicians.

D. One Psychiatric Technician Unit Supervisor,

E. One and one-half Registered Nurses to be assigned to Building Al on Facility A.

Defendants should confirm the establishment of these positions through the submission of
numbered position confirmations to counsel and the Special Master no later than Friday, March 3,
2006. .

3. Working with the Department of Personnel Administration and the State Personnel Board,
defendants should establish andimplement a Psychiatric Technician Unit Supervisor Duty Statement
no later than Friday, April 14, 2006 that provides for both adequate personnel supervision and the
appropriate clinical supervision as called for by California law. .

4. Defendants should, no later than Friday, February 24, 2006, submit in writing to the
Special Master assurances that PBSP has received funding necessary to implement the construction
necessary for the programs described in Exhibits 2 and 4.

oS. Defendants should implement the program for delivery of Ad Seg mental health services
as set forth in Exhibits 2 and 4 (modified to provide for contacts between clinicians (Case Manager)
and inmate/patients at least once per week) effective Monday, March 6, 2006, subject to the

construction related program modifications set forth in Exhibit 10.

Dated: January 17, 2006.

A the Hagar bali”
ohn Hagar (/
Special Master

> An additional Case Manager will ensure once per week contact between clinicians and Ad Seg
patients.

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PROOF OF SERVICE BY MAIL

I, Kristina Hector, declare:

Tam a resident of the County of Alameda, California; that I am over the age of eighteen (18) years
of age and not a party to the within titled cause of action. Iam employed as an Assistant to the |.
Special Master in Madrid v, Hickman in the County of San Francisco, California.

On January 17, 2006 I arranged for the service of a copy of the attached documents described as
the SPECIAL MASTER’S FINAL REPORT AND RECOMMENDATIONS RE
ADMINISTRATIVE SEGREGATION MENTAL HEALTH PILOT PROJECT on the parties of

‘record in said cause by sending a true and correct copy thereof by United States Mail and addressed
as follows:
._MIKE JORGENSON
Deputy Attorney General
455 Golden Gate Ave., Suite 11000
San Francisco, CA 94102
STEVEN FAMA
Prison Law Office
General Delivery
San Quentin, CA 94964-0001
| PETER FARBER-SZEKRENYI, DR. PH.
Director
Division of Correctional Health Care Services
CDCR

P.O. Box 942883
Sacramento, CA 94283-0001

JANET LEWIS

Administrative Assistant

Division of Correctional Health Care Services
CDCR

P.O. Box 942883

Sacramento, CA 94283-0001

MADRID UNIT

Pelican Bay State Prison
P.O. Box 7000

Crescent City, CA 95532

DWIGHT WINSLOW

‘REGIONAL MEDICAL DIRECTOR
Division of Correctional Health Care Services
CDCR
P.O, Box 942883

Sacramento, CA 94283-0001

RICHARD KIRKLAND
Warden
Pelican Bay State Prison
P.O. Box 7000

Crescent City, CA 95532

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DR, MICHAEL SAYRE
Chief Medical Officer (A)
Pelican Bay State Prison
P.O. Box 7000

Crescent City, CA 95532

MAUREEN McLEAN
Health Care Manager (A)
Pelican Bay State Prison
P.O. Box 7000

Crescent City, CA 95532

DR. WENDY SAVILLE
Chief Psychiatrist
Pelican Bay State Prison
P.O. Box 7000
Crescent City, CA 95532

TIM FISHBACK, M.D.
- Chief of Mental Health; Chief Psychiatrist
Heaith Services Division
California Department of Corrections and Rehabilitation
P.O. Box 942883
Sacramento, CA 94283-0001

J. MICHAEL KEATING, JR.
Special Master

285 Terrace Avenue
Riverside, Rhode Island 02915

JEFFREY L. METZNER, M_D., P.C.
3300 East First. Avenue, Suite 590
Denver, Colorado 80206

WARREN C. (CURT) STRACENER
PAUL M. STARKEY

Labor Relations Counsel
Department of Personnel Administration
Legal Division -

1515 “S” Street, North Building, Suite 400
Sacramento, CA 95814-7243

I declare under penalty of perjury under the laws of the State of California that the foregoing is
true and correct. Executed on January 17, 2006 at San Francisco, California.

| Pi athwe I the

istina Hector

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EXHIBIT 1

« P.O. Box 942883

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- ARNOLD SCHWARZENEGGER, Governor

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STATE OF CALIFORNIA—-YOUTH AND ADULT CORRECTIONAL AGENCY :

DEPARTMENT OF CORRECTIONS
Legal Affairs Division

Sacramento, CA 94283
(916) 445-0495
(916) 327-5306 (Fax)

June 3, 2005

Mr. John Hagar

Special Master

Federal District Courthouse
Law Library, 18" Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Re: Mental Health Care in PBSP Administrative Segregation

Dear Mr. Hagar:

In response to your letter of May 16, 2005, regarding staffing in the “old” administrative

_ Segregation unit at Pelican Bay State Prison, I wish to confirm that the California Department of
Corrections and Rehabilitation (CDCR) will proceed in the manner outlined in your conclusion.
We will develop and timely implement a regulation pilot project at PBPS regarding privileges

_ and property. On July 1, 2005, we will provide you with a staffing package for the old
administrative segregation unit at PBSP, which will be developed by PBSP. We understand that
you will forward the staffing proposal to Dr. Jeff Metzner for review, and if satisfactory, then to
Special Master Michael Keating, for review and final approval or disapproval.

PBSP and CDCR headquarters have already begun significant, coordinated efforts to prepare a
staffing study and pilot project. I believe that a discussion of the pilot project and staffing study
at the July 12, 2005, 30 day meeting would be productive and appropriate, and.ask that you
consider putting it on the agenda.

If you have questions or comments regarding specifics prior to July 1, I would request that you
contact Rich Kirkland, Mark Castellaw, or myself to discuss them.

Do not hesitate to contact me at (916) 324-4123 with questions.
™
: Sincerely,

‘

NN,
| ~ \
Dawn-Whitney /

_ Staff Counsel-~-~
Legal Affairs Division

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Mr. John Hagar
Page2

ec: Renee Kanan, M.D., Deputy Director (A), Health Care Services Division
Tim Fishback, M.D., Chief Psychiatrist, Health Care Services Division
Suzan Hubbard, Deputy Director (A), Institutions Division
Rich Kirkland, Warden, Pelican Bay State Prison
Dave Lewis, Deputy Director (A), Financial Services Division
Dennis Beaty, Assistant Chief Counsel, Legal Affairs Division
Michael Jorgenson, Deputy Attorney General, Department of Justice
Lisa Tillman, Deputy Attorney General, Department of Justice

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EXHIBIT 2

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Memorandum

Date : June 22,2005

To : Richard Kirkland
Warden
‘from : Department of Correciions

Pelican Bay State Prison, P.O. Box 7000, Crescent City, CA 95532-7000

subject: PILOT PROJECT (PBSP ADMINISTRATIVE SEGREGATION CCCMS MENTAL
HEALTH MANAGEMENT PROGRAM) |

‘

PURPOSE

This Instructional Memorandum announces the establishment and implementation of the

California Department of Corrections (CDC) Mental Health Management Program for

. Administrative Segregation Unit (ASU) inmates, who are at the Correctional Clinical Case

Management System (CCCMS) Level of Care (LOC). This Pilot Project is designed to enhance

the current level of mental health care provided to ASU CCCMS patients, who may experience
deterioration in their psychiatric condition due to lengthy periods of lack of occupation.

BACKGROUND

CDC and Pelican Bay State Prison (PBSP) have identified a need to enhance the current mental
health program for CCCMS patients who are housed in ASU. The CCCMS ASU, located in
Facility A, primarily houses inmates who are at the CCCMS LOC, where placement was
initiated pursuant to a variety of individual case factors, A large proportion of CCCMS patients
in ASU remain in that unit for several months. Over half of the CCCMS patients housed in
ASU are there for non-disciplinary placement. A significant number of CCCMS patients in
ASU are placed there after being in the Psychiatric Services Unit (PSU) at the Enhanced Out
Patient (EOP) LOC, improving in their mental health condition, and subsequently having their
LOC lowered to CCCMS. Due to the intense need for PSU beds, these patients are transferred
to the PBSP ASU, awaiting transfer to the Corcoran State Prison Security Housing Unit (SHU)
CCCMS Program. During the numerous months these patients are housed in the PBSP ASU ~
with no activities to pass the time, it is not unusual for their mental health condition to
deteriorate, requiring re-placement in PSU. Also, CCCMS patients awaiting transfer to a
Special Needs Yard (SNY) remain in ASU for many months, often over a year. Conditions in
the PBSP CCCMS ASU are not conducive to improving or even maintaining good mental
health. Patients have no appliances, personal property or activities other than a single one-to-
one mental health appointment per week plus medication management. ‘This is not an adequate
‘situation for what has essentially become.a Mental Health Unit.

Richard Kirkland
Page 2

PROGRAM COMPONENTS

Definitions:

All CCCMS patients housed within ASU will be eligible to participate in the proposed Pilot
Project. Levels of participation will be dictated by each patient’s willingness. to conform with
program parameters. Patients will be categorized as Orientation Status, Level'I or Level II.
Each patient’s individual level designation will be determined by behavior and overall program
participation.

Disciplinary:

A Level II patient who receives two 128 A Counseling Chronos in a thirty day period, or is
found guilty of one CDC 115 Rules Violation Report, will be reduced to Level I and will be
required to remain disciplinary free for a period of ninety days, and continue with program
participation, before he can re-ascend to Level Il

Classification:

Within ten days of placement, the Institution Classification Committee (ICC) will review the
case factors of each CCCMS ASU patient for placement into the Level I clinical level, and
applicable exercise yard and double cell status. Subsequent ICC reviews will serve as a
continuing appraisal, to identify each patient’s progress and individual program performance.

PILOT PROJECT REQUIREMENTS

The primary purpose of the Pilot Project is to enhance levels of mental health service to
CCCMS patients who are housed within the ASU. All CCCMS patients housed within ASU
are eligible to participate in the Pilot Project. Only those inmates who have remained
disciplinary free for a minimum period of ninety days and participate in the minimal program
parameters, will be eligible for the Level II privilege group.

PILOT PROJECT LOCATION

The Pilot Project will be specific to inmates who are at the CCCMS LOC and who are.currently
housed within ASU at Pelican Bay State Prison, located on the General Population A Yard.

BEHAVIORAL LEVEL SYSTEM

Participants of the Pilot Project will be divided into three categories: Orientation Status, and
clinical Levels I and Il. Bach level has a separate range of patient requirements, privileges and
program benefits. Each patient’s level designation will be determined by program participation,
disciplinary history and program conduct. Patient progress will be regularly assessed and
monitored by the Unit Psychiatric Technician and Interdisciplinary Treatment Team (IDTT).
The Level System will be tracked and administered by the Group Psychiatric Technician,

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Richard Kirkland
Page 3

Orientation Status

(Criteria) .
° All patients enter on Orientation Status except those transferred from PSU who are on
clinical Level 4 in PSU, (See Level II) This is a custody designation.

_(Program/Privileges)

Patients remain at Orientation Status until their first ICC (within 10 days).
* Minimal property levels consistent with current ASU policy.

© No exercise yard.

* Expected to attend one-to-one sessions with psychiatrist and clinician.

°

Level I

(Criteria)
e This is the basic level of all CCCMS patients following their first ICC review.

Progran/Privileges)

Minimal property levels consistent with current ASU policy.

e Walk alone, reintegrated mixed or controlled compatible exercise yard programs.(Small
Exercise Yard or Concrete yard)

e Patients are assigned to one-to-one clinical sessions every two weeks, and psychiatrist
“appointments. .
IDTT sessions every ninety days.

* One group session each week, unless the IDTT determines the patient is not eligible due to
a compelling clinical or custodial reason.

Level I

(Criteria)
' @ Patients entering ASU from PSU because of a drop in LOC, who are on clinical Level 4 in
PSU, are placed directly on ASU Level II.
¢ Remain disciplinary free for a minimum period of ninety days; defined as no CDC 115s
and fewer than two 128A Counseling Chrono’s in a thirty day period.

e Attend seventy-five percent of one-to-one pre-scheduled clinical sessions.
« Attend IDTT sessions every ninety days.
e Participate in one to two therapy groups per week, with minimum seventy-five percent
"participation.
¢ Participate in double cell program, unless otherwise restricted by ICC.

(Program/Privileges) .
« Walk alone, reintegrated mixed or controlled compatible exercise yard programs.(Small
Exercise Yard or Concrete yard)
-@ Property levels (Consistent with current PBSP SHU policy).

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Richard Kirkland
Page 4

¢ Cell assignment in a pre-designated quiet section when available.
¢ In-cell recreational supplies, such as art materials (Consistent with current PBSP SHU
policy). . .
* In cell appliance (Television or Radio consistent with current PBSP SHU policy).
(Note: Patients must acquire their own appliances, except those patients transferring from
PSU who are using a PSU “loaner” television may continue to use it in ASU until transfer
from PBSP ASU/PSU or reduction of program level.)

Level IT reduction a
¢ 128 A Counseling Chrono’s are to be written for behavior that does not require a CDC
115, but is disruptive and detrimental to the unit.
_¢ A patient who receives one 128A Counseling Chrono will be restricted from his appliance
for a period of thirty days.
* A patient who receives two 128A Counseling Chrono’s, or is issued a CDC 115, will be
reduced to Level I status.
¢ Patients who lose Level II program status will only be placed back on program Level II.
after successfully meeting the above ninety day disciplinary, double celling and therapy
requirements,

PELICAN BAY STATE PRISON MENTAL HEALTH MANAGEMENT OF CCCMS
INMATES PILOT PROJECT

Upon completion of this pilot project and approval for adaptation the California Department of
Corrections and Rehabilitation, Departmental Operation Manual, Chapter 5, Article 23 Inmate
Discipline and Article 43 Inmate Property shall be revised.

If you have any questions please contact either W. Saville, M.D., Chief Psychiatrist at extension
. 9118, or P. T. Smith, Facility Captain at extension 7904.

WENDY SAVILLE, M. D. P. T. SMITH
Chief Psychiatrist Facility Captain
Facility A

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_ EXHIBIT 3

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State of California

Memorandum

bate : June 24, 2005

To : R. Kirkland
Warden

From: Department of Corrections .
Pelican Bay State Prison, P.O. Box 7000, Crescent City, CA 95532-7000

Subject: STAFFING PROPOSAL FOR CORRECTIONAL CLINICAL CASE MANAGEMENT
- SERVICES ADMINISTRATIVE SEGREGATION UNIT

In order to adequately meet required mandates relative to the Madrid and Coleman decisions,
Pelican Bay State Prison (PBSP) has made the decision to house all Correctional Clinical Case
Management (CCCMS) inmates requiring placement into the Administrative Segregation Unit
(ASU) in Building Al on Facility A. The current CCCMS population of Building Al is 73
inmates.

Recognizing inmates at a CCCMS level of care require mental health treatment, the institution
has previously increased staffing on Second Watch by adding two Mental Health/Medical Escort
Officers. The current Correctional Officer staffing for Building A1 is:

| Position First Watch Second Watch | Third Watch
Control Booth 1.74 1.74 1.74
Yard Gunner » 1,74
Floor Officer. 87 3.48 3.48
Search and Escort 3.48 3.48
Officer
Mental Health / 12.42
Medical Escort
Officer
Total 2.61 12.86 - {8.7

This represents a total of 24.17 Correctional Officer positions.

All out of cell movement in the ASU is under escort by a minimum of two Correctional
Officers. Most of the escorts occur between the hours of 0600 to 1500. However, mental health
staff have been directed to begin offering group therapy to CCCMS inmate’s house in the ASU,
which will require additional escorts.

The staff on Second Watch provide a majority of the currently required escorts to:

Medical appointments _
Mental Health one-on-one appointments
Dental appointments.

Law Library

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R. Kirkland
Page 2

Classification Hearings
Visiting

Disciplinary Hearings .
Concrete Yard

Walk Alone Yard

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The staff on Third Watch provide escorts for:

¢ Showers .
e Return from the second Walk Alone Yard period
e Disciplinary Hearings

Third Watch staff also provide the following services:

Feeding

Laundry / Linen Exchange
Supplies
Canteen delivery

Mail delivery / collection

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When PBSP commences the group therapy sessions, the amount of Second and Third Watch
escorts will increase. Additionally, if the soon to be proposed CCCMS ASU program using the
Level System is approved, the inmates will be required to participate in one-on-one therapy as
well as group sessions in order to maintain their privileges. This will no doubt increase the
amount of mental health escorts.

Additionally, one of the Mental Health / Medical Escort Officers is funded as a 1.24 position.
There is no need for this position to be here on holidays, therefore I am recommending that it be
taken to a 1.18 position,

Therefore, I am recommending the following staffing be approved:.

.| Position -|. | First Watch Second Watch Third Watch
Control Booth 1.74 1.74 1.74
Yard Gunner 1,74
Floor Officer | .87 3.48 3,48
‘Search and Escort 3.48 3.48
Officer . .
Mental Health / 4.72 (2.3 increase)
Medical Escort
Officer .
Total 2.61 115.16 8.7

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R. Karkland
Page 3

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This represents a total of 26.47 Correctional Officer positions. This would require an increase in
staff by 2.3 positions, Of course, if the CCCMS population in the ASU inereasés, there may be
a need for additional resources.

If you have any questions, contact me at extension 7904.

P.T. SMITH
Facility Captain
Facility A

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EXHIBIT 4

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State of California
Memorandum
Dale : June 22, 2005

To : Calvin Smith
Regional Administrator for Health Care
Norther Region

From : Department of Corrections

Pelican Bay State Prison, P.O. Box 7000, Crescent City, CA 95532-7000

Subject: PROPOSAL FOR MENTAL HEALTH SERVICES IN CCCMS ADMINISTRATIVE
SEGREGATION UNIT AT PELICAN BAY STATE PRISON — FINAL DRAFT

The background of this proposal is contained in a letter from Special Master, Mr. John Hagar to
the Madrid case attorneys dated May 16, 2005 regarding Mental Health Care in Pelican Bay
State Prison (PBSP) Administrative Segregation (Ad Seg) Unit. As the Special Master points
out, a large proportion of the CCCMS patients in Ad Seg remain in that unit for many months,
Over half the CCCMS inmates housed in Ad Seg are there for non-disciplinary reasons. A
significant minority of CCCMS patients in Ad Seg are placed there after being in the Psychiatric
Services Unit (PSU) at EOP Level of Care (LOC), improving in their mental health condition, -
and being lowered to CCCMS LOC. Because of the intense need for PSU beds, these patients
are transferred to PBSP Ad Seg awaiting transfer to the Corcoran SHU CCCMS Program.

. However, during the months they spend in PBSP Ad Seg with no activities to pass the time, it is
not unusual for their mental health condition to deteriorate, many times requiring re-housing in
PSU. As Mr. Hagar points out, conditions in the PBSP CCCMS Ad Seg Unit are not
conductive to improving or even maintaining good mental health. The inmates have no
property, no activities other than one one-to-one appointment per week, and essentially nothing
to help them pass the time. This is not a sensible situation for what is essentially a Mental
Health Unit.

Mr. Hagar requests that we submit to him a proposal that covers two areas:

1. Proposed staffing for delivery of Mental Health services that meet at least the minimum
standards in the Coleman Program Guides, .

2. A proposal for a Pilot Project to modify existing regulations and allow mentally ill inmates
who are segregated for non-punitive reasons to be provided with selective privileges and
property over and above that allowed to inmates segregated for rules violations.

Our proposed program was developed in consultation with Dr. Jeffrey Metzner, Psychiatrist,
Court Expert in the Madrid and Coleman cases. It is based on a minimum standard of being
able to offer each CCCMS patient in Ad Seg at least one group per week, one-to-one individual
counseling once every two weeks, an in-cell recreation program, a level system offering
privileges as delineated below, medication prescription and monitoring, daily rounds and new
arrival screenings. Groups will emphasize recreational activities and social skills, but will also
include current events, “prison etiquette,” cognitive therapy for indecent exposure offenders,
anger management, and other topics as developed through experiénce with the program. The
maximum acceptable refusal rate for groups and one-to-one appointments will be 30 percent.
Our current refusal rate for one-to-ones is approximately 70 percent, (See proposed daily
schedule attached.) oO .

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Calvin Smith
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The following program is proposed on the assumption that the CCCMS Ad Seg census is no
higher than 70 patients. If the census were to go over that number, it would not be possible to
administer the same program with the same clinical staffing. If the census were high because of
‘a riot, for example, and it were expected to be a relatively short-term ‘situation, those patients
placed in Ad’ Seg due to the riot might not be offered the incentive program or might not be
placed in.a group if the group slots became full, If the CCCMS Ad Seg census became
permanently over 70, a new staffing package would be required. The following is a preliminary
. proposal only; the final proposal may have considerably different details.

STAFFING:

Psychiatrists. PBSP is currently allocated 1.0 psychiatrists for Ad Seg and SHU. This should
~ continue to be adequate.

Case Managers. PBSP is currently allocated 1.5 case managers for Ad Seg. This number has
never been adequate, and in fact we have assigned an extra .5 case manager from another unit to
provide basic services in Ad Seg (in addition to the approximately 3 position diverted to the
new Ad Seg Unit was also not provided.) Particularly in such a small unit, a relief factor is also.
required in order to provide services without interruption. For a census of 60 to 70, two case
managers are needed with a relief factor of .15 for each one, for a total need of 2.32. A case
manager is either a psychologist or a social worker. When the census goes above 70 and

_ remains there, additional case manager time would have to be diverted from another unit, thus
reducing overall PBSP compliance with court directives to a degree related to the amount of
time that must be diverted. Ad Seg patients require much more case manager time and attention
than General Population CCCMS patients.

Case manager duties include one-to-one counseling with caseload patients, crisis and emergency
interventions, seeing referrals, evaluations, Board of Prison Terms Evaluations, 602 Responses,
Indecent Exposure Evaluations, Mental Health Reports for RVRs, ICC attendance,
Interdisciplinary Treatment Team (IDTT) preparation and attendance, Staff Meeting attendance,
Quality Improvement Team service, C-File Reviews required for several types of reports,
documentation of all of the above, consultation with psychiatrists, custody staff, and other staff,

and assisting with groups.

In summary, we propose an additional .82 (essentially 1.0) case managers above the current
allocation.

Licensed Psychiatric Technicians. PBSP is currently funded for 1.5 Licensed Psychiatric
Technicians (LPT) positions for this unit. In order to provide the above program, we propose
the following:
¢ 1.64 LPT positions on AM Shift. Duties would include: AM Medication Pass, treatments,
labs, some of the daily rounds, general help to the psychiatrist, noting and processing
- orders, and urgent and crisis interventions.
¢ 1.64 LPT positions on the PM Shift. Duties would include: PM Medication Pass, daily
rounds, administer Medication Administration Records, order medications and supplies,
new atrival screens, interventions, and urgent and crisis care. Having LPTs pass meds
rather than MTAs will greatly improve the unit culture and medication compliance.

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Calvin Smith
Page 3

¢ 1.15 group LPT (five days per week with vacation and sick relief.) Duties to include two
two-hour groups per day, five days per week with seven to eight patients per group, group
preparation and documentation, in-cell activity program including inventorying and
tracking of supplies, ordering, organizing both programs, inventorying and checking out
books, and administration of the level system (below.)

¢ LPT Unit Supervisor. There are currently 22.5 LPTs at PBSP with no provision made for
their supervision, except for two “lead” positions. Currently supervisory time is taken “out
of hide” of nursing supervisory positions. PBSP has needed a Unit Supervisor for the
LPTs for the past several years. With the addition of CCCMS Ad Seg services, and the
proposed increase to approximately 25 LPT positions, the need for a Unit Supervisor for
all the LPTs at PBSP becomes even more critical.

_ In summary, we propose 2.93 (essentially 3.0) additional LPT positions and 1.0 LPT Unit
Supervisor.

Nursing Staff, The A-1 Ad Seg medical clinic is located in the housing unit, because Ad Seg
inmates cannot be taken to the A Yard general medicine clinic. Due to the remote location of
the A-1 Ad Seg medical office, and the well above average volume of sick calls and general
medical needs of the Ad Seg population, it has been necessary for the nursing department to
assign an RN full-time to the Ad Seg medical office. Staffing has never been provided for this
position, and this RN is being diverted from other duties. Therefore, we are requesting as part
of this staffing augmentation a 1.15 RN position for the medical office.

Custody Officers. Captain P.T. Smith is providing the recommendation for additional escort
staff to for the above program in a separate memorandum.

SUMMARY OF HEALTH CARE STAFFING AUGMENTATION:

Psychiatrists — no additional positions.

Case Managers — 1.0 additional case manager.

Licensed Psychiatric Technician — 3.0 LPT positions and 1.0 LPT Unit Supervisor position. -
Registered Nursing Staff— 1.15 RN positions.

PILOT PROJECT FOR CLINICAL LEVEL SYSTEM:

- See Joint Mental Health/Custody Memorandum regarding the proposed Pilot Project.

PHYSICAL PLANT MODIFICATIONS:

See Proposal and Cost Estimate provided by Dayton Conover, Correctional Plant Manager.

NECESSARY SUPPLIES. The above program would require:
© Television and VCR/DVD player for the group area.
* Group therapy supplies including recreational therapy supplies
.® In-cell activity supplies
e Movies and music discs
We estimate these supplies, after the start up cost, would cost approximately $1,000.00 per year.

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OD PO ore

Calvin Smith
Page 4

It is our belief the above program would satisfy a minimum standard for Mental Health care for
this type of population.

WENDY SAVILLE, M.D.
Chief Psychiatrist

Attachment

ec: Richard Kirkland, Warden
Dwight Winslow, M.D., Health Care Manager
P.T, Smith, Captain ASU
Mike Bean, Manager Business Services
Jeffrey Metzner, M.D. .

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EXHIBIT 5

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JEFFREY L. METZNER, M.D., P.C,
3300 EAST FIRST AVENUE
SUITE 590
DENVER, COLORADO 80206

—_———

TELEPHONE (303) 355-6842
FACSIMILE (303) 322-2155

MEMORANDUM

To: John Hagar, Esq.
From: Jeffrey L. Metzner, M:D.
Date: June 8, 2005

Re: _ PBSP administrative segregation pilot program

I have reviewed the “PROPOSAL FOR MENTAL HEALTH SERVICES IN

‘CCCMS ADMINISTRATIVE SEGREGATION UNIT AT PELICAN BAY
STATE PRISON” described in Appendix I. It is my opinion that this proposal be
implemented and further assessed via a QI process.

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EXHIBIT 6

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MEMORANDUM

To: John Hagar, Esq.
From: Jeffrey L. Metzner, M.D.
-Date: November 20, 2005
‘Re: = Administrative Segregation Pilot Project

Administrative Segregation Pilot Project

Minutes of the Ad Seg C3MS program QIT were reviewed. This QIT met on
about a weekly basis from May 17-June 21, 2005. -Through the Madrid process, a
pilot project was proposed and accepted by the Special Master (see Appendices
IA, B, & C) around June 2005. However, neither the section 6 request for
remodeling nor the staffing proposals have been either approved or disapproved
from central office. An apparent recent agreement between Mr. Hagar and Mr.
Keating was reported to result in the decision for this project to proceed via the
Madrid process at the current time. :

Although the staffing proposal has not been acted upon, the recent increase in —
mental health staffing allocations based on the prevalence information comes close
to the requested pilot project proposal. .

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EXHIBIT 7

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JOHN HAGAR - SPECIAL MASTER
Madrid v. Woodford, C-90-3094 T.E.H.
a Federal District Courthouse
' ' "Law Library 18" Floor
. . 450 Golden Gate Avenue
San Francisco, CA 94102

June 10, 2005

J, MICHAEL KEATING, JR.
285 Terrace Avenue
Riverside, Rhode Island 02915

Re: PBSP Ad Seg Status Report

Dear Michael:

In response to my letter of May 16, 2005 (a copy of which was finally sent to your new
address), the defendants in Adadrid have agreed to (1) proceed to implement a pilot project to
modify the privileges provided in the “old” ad seg unit and (2) to develop a plan for providing
fyaneed mental health services in the unit. See Dawn Whitney’s letter of June 3, 2005 (Exhibit
1).

- An outline of the enhanced mental health services plan is attached as Exhibit 2. See also
Dr. Jeffrey L. Metzner’s responsive letter (Exhibit 3). oe

I will proceed to work with defendants on the pilot re privileges. I will forward the
staffing package to you, after I receive it on July 1, 2005 (from what I’ve been told, PBSP
officials believe that they can provide Coleman standards of care in ad seg, including at least
once per week group therapy, with additional staffing that is significantly below that projected
by the Central Office). I will also set the status of both projects for discussion at my “30-day”
meeting of July 12, 2005. |

. Dr. Metzner can discuss these issues with PBSP officials during his Coleman on-site
inspection of August 2005.. The decision to go forward with the enhanced mental health services
plan with be a Coleman (and not a Madrid) decision.

Let me know if you have any questions, comments, or concerns, —

Yours truly,
Mh ON
Join Hagar

ce. Dr. Jeffrey L. Metzner

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JOHN HAGAR - SPECIAL MASTER
Madrid v. Woodford, C-90-3094 T.E.H.

a Federal District Courthouse
‘Law Library 18" Floor
: 450 Golden Gate Avenue

San Francisco, CA 94102

July 14, 2005

J, MICHAEL KEATING, JR.
285 Terrace Avenue
" Riverside, Rhode Island 02915

Re: Mental Health Services in PBSP A inistrative Segregation Unit

Dear Michael: :

Ihave attached the PBSP proposals to (1) institute a pilot project in administrative
segregation to provide a step program and additional mental health services, and (2) to staff
administrative segregation with additional escort officers and mental health staff to provide for
Coleman ad seg requirements. Taken as a whole, these documents appear to represent a
reasonable start to a necessary change in services,

Please review and contact me at your convenience.

Yours tryly,
kN
Jofin Hagar

cc. Madrid Unit
Steven Fama
Mike Jorgenson
Lisa Tiliman
Dennis Beaty
Dr. Jeffrey L. Metzner
Dr. Renee Kanan
Dr. Wendy Saville

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EXHIBIT 8

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, . Director:
Prison Law OFFICE . Donald Specter
General Delivery, San Quentin, CA 94964-0001
Staff Attorneys:

Telephone (415) 457-9144 ® Fax (415) 457-915] Susan Christian

Steven Fama
Brittany Glidden
Penny Godbold
Megan Hagler
. Alison Hardy

December 28 » 2005 Millard Murphy

. Sara Norman
Keith Wattley

John Hagar
Special Master, Madrid v. Hickman
Via e-mail pdf file transfer only

Re: Draft Report And Recommendations Re Administrative. Segregation Mental Health
Pilot Project

Dear Mr, Hagar:

Plaintiffs offer the following comments and objections to the above-referenced Draft
Report. .

Plaintiffs object to Findings # 1 and # 3, at 4:5-7 and 9-1 1, to the extent that Draft Report

determines that the Pelican Bay project and/or program is adequate when they provide for (1) the
_ Institutional Classification Committee (ICC), not an Inter-Disciplinary Treatment Team (IDTT),

to make appraisals and determinations related to an inmate-patients’ level of participation in a
' behavior modification/treatment program, and do not permit the IDTT to over-ride restrictions
when warranted by treatment concerns or mental! health status or even require that privileges be
restored if an inmate is found not guilty of a rules violation; and (2) one-to-one clinician contacts
at most once every two weeks, instead of every week (as required by the statewide Coleman
program guides), even when a inmate-patient does not participate in group therapy sessions. The
objections are discussed below.

1, ICC appraisals and determinations of treatment levels / program restrictions

The Pilot Project calls for the ICC to make the initial determination regarding whether an
inmate-patient will be placed into the “Level I clinical level.” See Exhibit 2 to Draft Report at 2.
‘The ICC apparently determines subsequent decisions, including placement in Level 2, based on

- the patient’s “progress and... program performance.” Id.

In addition, the Pilot Project provides that restrictions for an inmate’s Level II program,
including participation in group therapy, will be imposed upon issuance of a counseling chrono or
rules violation report, and provide for those restrictions to continue until certain disciplinary free
time-periods are completed, without permitting the IDTT to lift restrictions based on treatment
concerns or even if the inmate is subsequently found not guilty of a rules violation.

Board of Directors ©
Marshal Krause, President * Michele WalkinHawk, Vice President
Honorable John Burton * Penelope Cooper * Felecia Gaston * Christine Hipps * Margaret Johns
Cesar Lagleva © Laura Magnani * Michael Marcum * Ruth Morgan * Dennis Roberts

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Mr. Hagar
December 28, 2005

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Mental health treatment decisions, and restrictions that impact mental! health treatment, -
must involve the IDTT. All other mental health treatment decisions at Pelican Bay involve the
IDTT. See, e.g, Health Care Policies and Procedures, Volume V-A, Chapter 3a (at pages 3-5),
Chapter 4 (at page 4) and Chapter 8 [addressing role of IDTT in CCCMS, EOP and PSU levels of

Care, respectively]. Statewide, treatment planning for all inmate-patients in administrative
segregation must be done by the IDTT. See Program Guides at 8-7 (section “K"), copy enclosed.
Plaintiffs can identify no legitimate penological or other reason for the IDTT to not be involved in
treatment related decisions, including imposition and continuation of program restrictions, in the
administrative segregation pilot project. IDTT approval or concurrence for such restrictions and
program level determinations should be required, and the IDTT when necessary should be
required to meet on a particular inmate-patient more frequently than once every 90 days.

The problem of the pilot project not providing for removal of restrictions when the inmate-
patient is subsequently found not guilty of a rules violation should be obvious.

2. Frequency of Clinician (Case Manager) Contacts

The pilot project calls for administrative segregation inmate-patients to receive one-to-one
contacts with a clinician once every two weeks if they are in program Level I.. See Draft Report,
Exhibit 2, at page 3. Oddly, the pilot project does not require any amount of one-to-one clinical
contact for inmate-patients in program Level II. Id. at pages 2-3.

The statewide Coleman requirements mandate weekly case manager contacts for inmate-

patients housed in administrative segregation. See Program Guides, Section 8-7, May 1997 (copy
enclosed). The pilot project, when envisioned, was supposed to involve sufficient staff to meet
these statewide requirements. See Draft Report, Exhibit 4, at page 1 (“Mr Hagar requests that we
submit to him a proposal that covers... 1. Proposed staffing for delivery of Mental Health
services that meet at least the minimum standards in the Coleman Pro gram Guides”]. As such, it
is puzzling why the Pilot Project reduces the frequency of one-to-one case manager contacts for
Level | inmate-patients, and does not mandate any such contacts for Level II prisoners. It perhaps
might be suggested that the Pilot Project’s group therapy sessions adequately substitute for the
one-to-one sessions. However, those group sessions are conducted by psychiatric technicians (see
‘Draft Report, Exhibit 4, at page 3, first bullet point [describing duties of psych techs]). In
contrast, the one-to-one case manager contacts are normally provided by a psychiatric social
worker or psychologist. See Program Guides at 8-7 (enclosed). In addition, even assuming that
the group sessions are an adequate substitute for one-to-one encounters, the Pilot Project does not
_ require that weekly one-to-one encounters be scheduled for inmate-patients who for any reason,
including impositions of restrictions, cannot or does not participate in the group sessions.. For all
these reasons, the Pilot Project should be modified to require weekly one-to-ne case manager
contacts for all inmate-patients.

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Mr. Hagar
December 28, 2005

Page 3

Thank you for considering these matters. I look forward to discussing them with you,
Pelican Bay managers and staff, and CDCR officials at our upcoming January 4" video
conference.

Sincerely,
/s/

Steven Fama

cc: Mike Jorgenson, Deputy Attorney General
Madrid Compliance Unit
- (Both via pdf file transfer only)

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. Case 2:90-cv-00520-KJM-SCR . .Document 2009 Filed 10/31/06 Page 390f47 .

Mental Health Services Delivery System Program Guides - Health Care Services Division

2. Chief Psychiatrist, or in institutions without such a position, the Health Care Manager or
designee, shall attend the ICC to provide clinical input at the committee meeting. (See IX

EOP care)
K. INTERDISCIPLINARY TREATMENT TEAM
1. The Ad/Seg MHS IDTT shall be chaired by the Chief Psychiatrist, or, in institutions
without such a position, a mental health clinician designated by the Health Care Manager.
At least one additional clinical member (normally the designated clinical case manager
for the inmate under review) shall be required for decisions. Other regular participants in
IDTT reviews shall include the unit Facility Captain, Supervising Correctional
Counselor, unit Lieutenant, and mental health and custodial staff who have specific
information relevant to cases under review. The IDTT reviews may include classification
actions in the Department Operations Manual Section 62010.8.2 and California Code of
Regulations Section 3375 if appropriate, when classification staff and necessary
documentation are present. .

2. AILIDTT actions shall be documented within the individual inmate Unit Health Record on
approved forms, and, where custodial issues are involved, on 128C Chronos for the

- central file.

us

The responsibility for overall treatment planning within the Ad/Seg MHS rests with the
IDTT. ,

4, All IDTT sessions that involve a change in treatment plans should include the presence of
the inmate under review. Inmate participation in the development and adjustment of

treatment plans is essential.

L. CLINICAL CASE MANAGER
Each inmate within the treatment component of the Ad/Seg MHS shall be assigned a clinical
case manager through the CCCMS program, normally a Psychiatric Social Worker or
Psychologist, This individual shall maintain weekly clinical involvement with the inmate, as
well as performing casework functions, including the following:
1, Documentation of initial and updates to the treatment plan.

2. Weekly monitoring of clinical symptoms.

3. Scheduling for periodic treatment team reviews.

8-7
Revised May 1997

)
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EXHIBIT 9

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State of California

BILL LOCKYER
DEPARTMENT OF JUSTICE

Attorney General

455 GOLDEN GATE AVENUE, SUITE 11000
SAN FRANCISCO, CA 94102-7004

Public: (415) 703-5500
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E-Mail: michael. jorgenson@doj.ca.gov

December 28, 2005:

John Hagar

Special Master

Judges’ Reading Room

Court Library, 18th Floor
. US. District Court, Northern District

450 Golden Gate Avenue

San Francisco, CA 94102

ALEJANDRO. MADRID, et al. v. RODERICK HICKMAN, et al.
United States District Court, Northern District of California, Case No. C-90-3094 TEH
ee eran St ENA

Dear Mr. Hagar:

RE:

Defendants submit the following comments and objections to the Special Master’s Draft
Report and Recommendation Re: Administrative Segregation Mental Health Pilot Project served
December 6, 2005 (the Report). These are submitted pursuant to the January 23, 1995 Order of
Reference, by which the parties may express concerns, comment, and object to a draft report.

The.Special Master requested comments addressing the following three issues:

Issue 1: The Special Master understands that, to a very significant degree, PBSP recently

received staffing increases which provide many,
The status of current staffing should be clarified,
staff necessary to implement the program should

if not all, of the positions requested in Exhibit 3.
and a program for obiaining any additional
also be explained.

_ The 2.3 correctional officer positions during second watch that were requested in the
Special Master’s Exhibit 3 were authorized and received at PBSP.as part of the “Prevalence Mix’
Distribution” in September 2005. The mental health staffing authorization received at PBSP in
September 2005 as part of the Prevalence Mix included 1.0 Clinical Case Manager and 3.0
Licensed Psychiatric Technicians, which can be used for the Ad Seg Pilot Project. While not
reflected in the Special Master’s Exhibit 3, a 1.0 Licensed Psychiatric Technician Unit
Supervisor position, and 1.15 Registered Nurse position are stil} requested by Dr. Saville. See
Special Master’s Exhibit 4 p. 3. .

Defendants request that the positions become part of a Madrid remedial order rather than

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Page 2

part of the prevalence mix. It is more appropriate to make those positions part of the remedial
plan since the program is being implemented through a court order and calls for permanent
positions not subject to removal,

Issue 2: The steps taken to receive administrative approval for “pilot” status should be
explained.

The steps taken to receive administrative approval for the “pilot” status are as follows:

The statutory purpose and description for this type of pilot program is found in California
Penal Code Section 5058.1. The first step is to create an instructional memorandum describing
the program with the assistance of CDCR’s regulations and policy management branch who in
turn works with the state’s Office of Administrative Law (OAL). You may recall that an
instructional memorandum was prepared for the pilot program in the Freitag case. The
program’s text should be approved by the Special Master and authorized by CDCR executives
and the Department of Finance. Some of the documents required by the CDCR regulations and
policy management branch for submittal to OAL include a financial and economic impact
statement (STD form 399), a Certificate of Pilot Program signed by CDCR’s Secretary or Chief
Deputy Secretary, and a transmittal form (STD form 400). The Department of Finance also
reviews the pilot program for fiscal impact since there is a fiscal impact. Once the pilot program
is submitted to the OAL, it has 30 working days to review the program and suggest changes to
the text or provide final approval of the program: The program will be in effect for 24 months
from the date the Certification of Pilot Program is dated. After that period, a final program will
have to be adopted. Pilot Programs may also be amended by filing anew Form 400 (Part B) and
new amended text, however, the 24 months cannot be extended.

Issue 3: The Special Master understands that Dr. Metzner raised concerns, during his November
2005 Coleman visit, about the adequacy of the proposed group therapy cages. Defendants
should submit a plan for the renovations necessary to address the Court expert's findings,

Dr. Metzner’s concerns related to confidentiality and privacy of the mental health inmate
patient. Plans for remodeling the kitchen and dining room area between buildings A-1 and A-2 -
have been agreed upon by custody and mental health management and are being prepared under
the direction of PBSP Plant Operations Supervisor, Chip Conover. All the clinical spaces in the
proposed remodel are “enclosed and sound confidential” as required to meet the specifications a as
described by Court Expert Dr. Metzner.

Short-term solutions for i improving sight and sound confidentiality have been
implemented. They include placing partitions to provide at least a visual barrier for mental
health patients. The partitions may need to be moved during construction.

Defendants have recommendations and objections to the Draft Report’s implementation
- deadlines. First, it is not possible to complete construction before February 13, 2006, because it
involves obtaining construction authorization and funding. The construction renovation project

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December 28, 2005
Page 3

requires the expenditure of approximately $277,000 and the preparation of a Special
Repair/Capital Outlay Budget Change Proposal (COBCP). The COBCP’s estimate for
_completion of construction is four months from approval of the project. The construction project
includes ordering construction materials, removal of kitchen fixtures, replacing flooring,
construction of treatment areas and offices, installation of smoke detection equipment, lighting
and electrical renovation, and installation of local area network lines. The project will be
accomplished with inmate day-labor.

Second, certain aspects of the mental health program, cannot be fully implemented until
the construction project is completed. Until construction renovations are completed, a modified
program will need to be used. I summarize comments received from Dr. Saville in support of the

‘recommended changes to the draft report:

By February 13, 2006, an interim program can be implemented pending the remodeling of
the area. The interim program will of necessity be suboptimal and provide less than the full
range of services in the proposed plan. The spaces are now used for providing therapy services,
and the spaces which will be available during the construction phase, are non-confidential, noisy,
and subject to frequent interruptions. Also, although the Psychiatric Technician positions have
been obtained, people need to be hired. Mental Health staff are confident in being able to fill.one
of the Psych Tech positions, and that person would run the group and recreational program and
administer the level system. Mental Health staff hope to hire the other two Psych Tech as well,
within the next two months, and they will provide a critical piece of the proposal, that is, the
medication pass and the unit’s atmosphere by virtue of their presence and activities there. This,
plus the level system, are the key elements in transforming the unit.

Dr. Saville has proposed the two attached daily activity schedules, one for before the start
of construction, and the other during construction. It should be understood that both these
schedules are subject to revision because of several factors including obtaining staff, being able
to obtain the needed supplies in a timely manner, the lack of computers in the current space
(requiring staff to travel to remote locations to use computers, which reduces efficiency
considerably) and the difficult nature of the current physical plant with its noise, openness, and
bustle. It-may turn out that fewer one-to-ones and groups can be provided than are tentatively
planned at this time. For example, PBSP plans to place escorts on third watch and run the group
program on third watch during the construction phase.

Therefore, the Defendants request a change to Recommendation #3 requiring that
“Defendants should implement the program for delivery of Ad Seg mental health services as set
forth in Exhibit 4 effective Monday, February 13, 2006.” Defendants request that the
recommendation be changed to: “Defendants should fully implement the program for delivery of
Ad Seg mental health services as set forth in Exhibit 4 upon completion of construction
renovations.”

In light of the need to include mental health services as part of the pilot project, it is not
possible for PBSP to meet recommendation #1 by February 13, 2006. That recommendation is

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that “Defendants should implement the pilot project set forth in Exhibit 2 effective Monday,
February 13, 2006.” But Defendants can comply with the requirement for enhanced property
levels by that deadline, if the levels system can be administered. Defendants propose the
following language reflecting the operational needs of completing construction: “Defendants
should implement the program for delivery of Ad Seg mental health services as set forth in
Exhibit 2 upon completion of construction renovations. Defendants should implement the
program for enhanced property levels no later than Monday, February 13, 2006.”

The Defendants look forward to a further discussion of this matter at the 30-day meeting
on January 4, 2006,

Respectfully Submitted,

HAL fo

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Deputy Attorney General

For BILL LOCKYER»
Attorney General
Attomeys for Defendants Hickman, Kirkland and
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Richard Kirkland, Pelican Bay State Prison
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’ Dr. Peter Farber-Szekrenyi, CDCR Health Care Services Division
Maureen McLean, PBSP Health Care Manager
Dr. Wendy Saville, PBSP Chief Psychiatrist
Janet Lewis, CDCR Health Care Services Division
Madrid Unit, Pelican Bay State Prison

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_ EXHIBIT 10

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